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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

              -v-

                                                                      20-MJ-680-MJP
MARQUIS FRASIER,

                    Defendant


                             NOTICE OF MOTION AND
                           MOTION FOR BAIL REVOCATION

       PLEASE TAKE NOTICE, that upon the annexed Affidavit of Sean C. Eldridge,

Assistant United States Attorney, the undersigned moves this Court for an order revoking the

Defendant's Release Order pursuant to Title 18, United States Code, Section 3148.

       DATED: Rochester, New York, June 28, 2021.


                                                 JAMES P. KENNEDY, JR.
                                                 United States Attorney


                                          BY:    S/Sean C. Eldridge
                                                 SEAN C. ELDRIDGE
                                                 Assistant U.S. Attorney
                                                 United States Attorney’s Office
                                                 Western District of New York
                                                 100 State Street, Suite 500
                                                 Rochester, New York 14614
                                                 (585) 399-3953
                                                 Sean.Eldridge@usdoj.gov


TO:    James Vacca, Esq.
       J.D. Curran, U.S. Probation Officer
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


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               -v-

                                                                       20-MJ-680-MJP
MARQUIS FRASIER,

                     Defendant



                                        AFFIDAVIT


STATE OF NEW YORK )
COUNTY OF MONROE ) SS:
CITY OF ROCHESTER )


      Sean C. Eldridge, being duly sworn, deposes and states:



      1.       I am an Assistant United States Attorney for the Western District of New York.



      2.       On or about June 30, 2020, this Court signed a Criminal Complaint charging

Defendant Marquis Frasier with committing arson in violation of Title 18, United States

Code, Sections 844(i) and 2. That crime carries a mandatory minimum prison sentence of

five years, and a maximum sentence of 20 years imprisonment.




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       3.       The Defendant made his initial appearance before this Court on July 2, 2020,

and the government moved for detention. After a detention hearing that took place over July

7 and July 10, 2020, the Court ordered the Defendant’s release on certain conditions, which

included home detention with electronic monitoring, submitting to a mental health evaluation

and following treatment recommendations, and participating in drug treatment.



       4.       In a violation report dated June 23, 2021, U.S. Probation Officer J.D. Curran

informed the Court that Defendant violated his release conditions on multiple occasions and

the Court directed the Defendant to appear in court on June 28, 2021. Specifically, in

violation of the above-referenced release conditions, the Defendant violated the home

detention component of his release conditions on seven occasions during April, May and

June, 2021; the Defendant violated the drug treatment condition in that he has twice (in

January 2021 and April 2021) been unsuccessfully discharged from substance abuse

treatment; and the Defendant violated the mental health treatment condition in that he has

not attended mental health treatment since February 23, 2021. Based on the violation report,

the defendant appeared before this Court on June 28, 2021 where the government orally

moved for revocation, and the Court ordered the Defendant detained pending a revocation

hearing on July 8, 2021 at 10:00am.




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       5.       Based upon the repeated instances of non-compliance as outlined above and in

the violation report, there is clear and convincing evidence that Defendant violated the

conditions of his release. In addition, the Defendant’s actions show that he is unlikely to

abide by any condition or combination of conditions of release set by the Court, and the

government therefore concurs with Officer Curran’s stated position that that Defendant’s

release order should be revoked.



                                                  S/Sean C. Eldridge
                                                  SEAN C. ELDRIDGE
                                                  Assistant U.S. Attorney
                                                  United States Attorney’s Office
                                                  Western District of New York
                                                  100 State Street, Suite 500
                                                  Rochester, New York 14614
                                                  (585) 399-3953
                                                  Sean.Eldridge@usdoj.gov


Subscribed and sworn to this
28th day of June, 2021.


S/Michelle McCreedy Miles
NOTARY PUBLIC

       MICHELLE MCCREEDY MILES
       Notary Public, State of New York
       Commission Expires August 1, 2025




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